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 8   Attorneys for Plaintiffs

 9
10                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
11
12   LORA HASKETT, ASHLEY HEALY, Case No.: 5:17-cv-02212-GW-JC
13   JOCELYN BURKE-CRAIG,
     BRITTANY BIANCHI, KERRY
14   TIGHE-SCHWEGLER, Individually,
15   and On Behalf of a Class of Similarly NOTICE OF RELATED CASE
     Situated Individuals,
16
17                Plaintiffs,
          v.
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19
20   LULAROE, LLC d/b/a LULAROE,
     LLR, INC.,
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22                 Defendants.
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                                  NOTICE OF RELATED CASE
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 1         TO THE CLERK OF THE COURT AND ALL PARTIES OF RECORD

 2   HEREIN:
 3
           PLEASE TAKE NOTICE that pursuant to Local Rule 83-1.3.1 of the Local
 4
 5   Rules of Civil Procedure for the Central District of California, the above-
 6
     captioned action, Haskett et al v. LuLaRoe, LLC et al, Case No. 5:17-cv-02212-
 7
 8   GW-JC (“Haskett”), is related to the following action pending in this District:
 9   1.    Lemberg et al v. LuLaRoe, LLC et al (“Lemberg”), Case No. 5:17-cv
10         02102-AB-SHK, assigned to the Honorable André Birotte Jr.
11         The Haskett and Lemberg actions assert claims under the California
12
     Business & Professions Code §§17200, et seq. and §§17500, et seq. The actions
13
14   (i) arise from the same or closely related transactions, happenings or events; (ii)
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     call for the determination of the same or substantially related or similar questions
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17   of law and fact; and (iii) would entail substantial duplication of labor if heard by
18   different judges. In addition, the defendants named in the Haskett action are the
19
     same defendants named in the Lemberg action.
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                                   NOTICE OF RELATED CASE
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 1   Dated: November 10, 2017     GLANCY PRONGAY & MURRAY LLP

 2
 3                                By: s/ Marc L. Godino
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                                NOTICE OF RELATED CASE
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 1                PROOF OF SERVICE BY ELECTRONIC POSTING
 2         I, the undersigned say:
 3         I am not a party to the above case, and am over eighteen years old. On
 4   November 10, 2017, I served true and correct copies of the foregoing document,
 5   by posting the document electronically to the ECF website of the United States
 6
     District Court for the Central District of California, for receipt electronically by
 7
     the parties listed on the Court’s Service List.
 8
           I affirm under penalty of perjury under the laws of the United States of
 9
     America that the foregoing is true and correct. Executed on November 10, 2017,
10
     at Los Angeles, California.
11
12
                                                       s/ Marc L. Godino
13                                                     Marc L. Godino
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              Case 5:17-cv-02212-AB-SHK Document 11 Filed 11/10/17 Page 5 of 5 Page ID #:71




Electronic Mail Notice List

The following are those who are currently on the list to receive e-mail notices for this case.

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Manual Notice List

The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who therefore require
manual noticing). You may wish to use your mouse to select and copy this list into your word processing program in order to
create notices or labels for these recipients.

 (No manual recipients)
